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                    UNITED STATES DISTRICT COURT
                       DISTRICT OF CONNECTICUT

UNITED STATES OF AMERICA           :
                                   :
                                   :
     v.                            :        CASE NO. 3:12CR105(RNC)
                                   :
                                   :
TYRELL GARY                        :


           RECOMMENDED RULING AFTER COMPETENCY HEARING

     District Judge Robert N. Chatigny referred this case to the

undersigned to hold a second competency hearing as to defendant

Tyrell Gary.   (Doc. #660.)    For the reasons that follow, the

undersigned finds that the defendant is competent to proceed in

this matter and recommends that Judge Chatigny accept this

finding.

     The following background is relevant.         By motion dated June

4, 2012, counsel for defendant Tyrell Gary requested that the

court authorize funds for an expert witness to examine

defendant=s competency to stand trial.        (Doc. #113.)      The court

granted that request on December 6, 2012.         (Doc. #398.)      On

January 22, 2013, on recommendation of the undersigned after a

psychiatric examination and a hearing pursuant to 18 U.S.C. §§

4241 and 4247, District Judge Robert N. Chatigny ordered that

the defendant be designated to Federal Medical Center Butner for

further evaluation.    (Docs. #462, #473.)
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    In June 2013, FMC Butner provided a Certificate of

Restoration of Competency to Stand Trial that included an expert

evaluation report.    (Doc. #926.)        On July 26, the parties

jointly moved for a hearing to determine whether the defendant

has been restored to competency.         (Doc. #654.)    Judge Chatigny

granted defendant's request to authorize funds for an additional

psychiatric examination (doc. #858) and referred the case to the

undersigned pursuant to 28 U.S.C. § 636(b)(1)(B) to conduct a

competency hearing (doc. #660).          On October 30, 2013 Cristina

Sanchez-Jaquez, M.D. of the Yale School of Medicine Department

of Psychiatry issued an evaluation report following her

examination of defendant.       (Doc. #927.)

    Pursuant to 18 U.S.C. § 4241(c), the undersigned held a

competency hearing on November 19, 2013.          (Doc. #924.)      No

witnesses were called.       The parties jointly submitted the Butner

and Sanchez-Jaquez evaluation reports as sealed exhibits.

(Docs. #926, #927.)

    Section 4241(d) defines incompetency as "presently

suffering from a mental disease or defect rendering [a

defendant] mentally incompetent to the extent that he is unable

to understand the nature and consequences of the proceedings

against him or to assist properly in his defense."             18 U.S.C. §

4241(d).   A finding of incompetency must be supported by a

preponderance of the evidence.       Id.     On the basis of the

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evidence presented at the November 2013 hearing, the undersigned

finds that the defendant is competent to proceed in this matter

and recommends that Judge Chatigny accept this finding.

    Any party may seek the district court's review of this

recommendation.   See 28 U.S.C. § 636(b) (written objections to

proposed findings and recommendations must be filed within

fourteen days after service of same); Fed. R. Civ. P. 6(a), 6(d)

& 72; Rule 72.2 of the Local Rules for United States Magistrate

Judges, United States District Court for the District of

Connecticut; Thomas v. Arn, 474 U.S. 140, 155 (1985); Frank v.

Johnson, 968 F.2d 298, 300 (2d Cir. 1992).        Failure to timely

object to a magistrate judge's report will preclude appellate

review.   Small v. Sec'y of Health and Human Serv., 892 F.2d 15,

16 (2d Cir. 1989).

    SO ORDERED at Hartford, Connecticut this 22nd day of

November, 2013.

                                 _________/s/___________________
                                 Donna F. Martinez
                                 United States Magistrate Judge




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